                                         UNITED STATES BANKRUPTCY COURT
                                                FOR THE DISTRICT OF ARIZONA

                                              Audio Record of Hearing Held
Hearing Information:
                       Debtor:    ATHENA MEDICAL GROUP, LLC
                 Case Number:     2:23-BK-01635-BKM         Chapter: 11

          Date / Time / Room:     THURSDAY, MARCH 21, 2024 02:30 PM 7TH FLOOR #701


              Courtroom Clerk:    JENNIFER LOWRY
               Reporter / ECR:    LETICIA OROSCO                                                                            0.00


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Matters:

       1) ADV: 2-23-00057
              ATHENA MEDICAL GROUP, LLC & WOUND CARE SPECIALISTS, LLC & RENU LLC vs WOUND CARE
              SPECIALISTS, LLC & RENU LLC & ATHENA MEDICAL GROUP, LLC
              EXPEDITED HEARING ON PLAINTIFF'S MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT FILED
              BY MICHAEL W. CARMEL OF MICHAEL W. CARMEL, LTD. ON BEHALF OF JAMES E. CROSS.
              R / M #: 27 / 0

       2) ADV: 2-23-00057
              ATHENA MEDICAL GROUP, LLC & WOUND CARE SPECIALISTS, LLC & RENU LLC vs WOUND CARE
              SPECIALISTS, LLC & RENU LLC & ATHENA MEDICAL GROUP, LLC
              EXPEDITED HEARING ON PLAINTIFF'S MOTION TO EXTEND DISCOVERY DEADLINES FILED BY
              MICHAEL W. CARMEL OF MICHAEL W. CARMEL, LTD. ON BEHALF OF JAMES E. CROSS .
              R / M #: 27 / 0

       3) ADV: 2-23-00160
              JAMES E CROSS vs RENU LLC & WOUND CARE SPECIALISTS, LLC
              EXPEDITED HEARING ON PLAINTIFF'S MOTION TO EXTEND DISCOVERY DEADLINES FILED BY
              MICHAEL W. CARMEL OF MICHAEL W. CARMEL, LTD. ON BEHALF OF JAMES E CROSS .
              R / M #: 30 / 0


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